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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

   TREVENIA BROWN,                                       )
                                                         )
           Plaintiff,                                    )
                                                         )
           v.                                            ) Cause No: 1:20-cv-01154-JPH-MJD
                                                         )
   DENIS McDONOUGH, SECRETARY OF                         )
   THE UNITED STATES DEPARTMENT OF                       )
   VETERANS AFFAIRS,                                     )
                                                         )
           Defendant.                                    )
                                 PLAINTIFF’S EXPERT DESIGNATION

         Pursuant to Fed. R. Civ. Proc.26(a)(2)(C) and the Scheduling Order entered in the above-

  captioned matter, Plaintiff discloses the expert witnesses who will not submit a separate report.

  Plaintiff expects these witnesses to testify about their treatment of the Plaintiff.


         1. Name: Dr. Robert Huff; Position: Dermatologist; Business Address: Dermatology,
            Inc., 3755 E. 82nd Street, Suite 75, Indianapolis, IN, 46240; Discoverable
            Information: Dr. Huff is expected to know about Complainant’s disability and need
            for accommodation.

         2. Name: Dr. Sunil Patel;1 Position: Psychiatrist; Business Address: Indiana University
            Health, Methodist Medical Plaza, Eagle Highlands, 6820 Parkdale Place, Suite 115,
            Indianapolis, IN 46254; Discoverable Information: Dr. Patel is expected to know
            about Complainant the mental aspects of her disability and the emotional distress of
            Respondent’s failure to accommodate her disability.

         3. Name: Saron Whitnie, ARNP (Primary Provider); Dermatology Specialists of West
            Florida, 5200 Seminole Blvd, Seminole, FL 33708; Discoverable Information: Extent
            Plaintiff’s condition was exacerbated after she transferred from the VA’s Indianapolis
            office.



  Dated: April 10, 2021
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                                                        Respectfully submitted,

                                                        /s/ Denise M. Clark
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                                                        Counsel for Plaintiff




                                  CERTIFICATE OF SERVICE

  I CERTIFY that, on April 19, 2021, a true and correct copy of the foregoing was served via e-
  mail upon the following:

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